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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                )     Chapter 11
                                                          )
    WARDMAN HOTEL OWNER, L.L.C., 1                        )     Case No. 21-10023 (JTD)
                                                          )
                             Debtor.                      )
                                                          )     Docket No. 48

             ORDER ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION
                 AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS

                  Upon the motion (the “Motion”)2 of the above-captioned debtor and debtor in

possession (the “Debtor”) for the entry of an order (this “Order”), authorizing the Debtor to

establish procedures for interim compensation and reimbursement of expenses for professionals

and official committee members, as more fully set forth in the Motion; and due and sufficient

notice of the Motion having been provided under the particular circumstances, and it appearing

that no other or further notice need be provided; and this Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this

Court being able to issue a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and a hearing having been scheduled

and, to the extent necessary, held to consider the relief requested in the Motion; and the Court

having found and determined that the relief requested in the Motion is in the best interests of


1
  The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is 5035
Riverview Road, NW, Atlanta, GA 30327.
2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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Debtor, their estates and creditors, and any parties in interest; and that the legal and factual bases

set forth in the Motion establish just cause for the relief granted herein; and after due deliberation

thereon and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                 1.          The Motion is granted as set forth herein.

                 2.          Except as may otherwise be provided in an order of this Court authorizing

the retention of specific Professionals, all Professionals in this chapter 11 case retained by the

Debtor or any Committee may seek interim payment of compensation and reimbursement of

expenses in accordance with the following procedures (collectively, the “Compensation

Procedures”):


                             a.     On or before the 25th day of each calendar month, or as soon as
                                    practicable thereafter (but not earlier than the 15th day of each
                                    calendar month), each Professional may file an application (a
                                    “Monthly Fee Application”) with the Court for interim approval and
                                    allowance of compensation for services rendered and
                                    reimbursement of expenses incurred during any preceding month or
                                    months, and serve a copy of such Monthly Fee Application by first
                                    class mail on each of the following parties (collectively, the ”Notice
                                    Parties”):

                                    (1)     counsel to the Debtor, Pachulski Stang Ziehl & Jones LLP,
                                            919 N. Market Street, 17th Floor, Wilmington, DE 19801,
                                            Attn: Laura Davis Jones, Esq.;

                                    (2)     the Office of the United States Trustee, 844 King Street,
                                            Suite 2207 Lockbox 35, Wilmington, DE 19801, Attn: Linda
                                            Casey, Esq.; and

                                    (3)     proposed counsel to any official Committee appointed in this
                                            case.

                             b.     Any Professional that fails to file a Monthly Fee Application for a
                                    particular month or months may subsequently submit a consolidated
                                    Monthly Fee Application including any prior month or months. All
                                    Monthly Fee Applications shall comply with the Bankruptcy Code,
                                    the Bankruptcy Rules, applicable Third Circuit law, and Local Rule
                                    2016-2.



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                             c.   Each Notice Party will have 21 days after service of a Monthly Fee
                                  Application to review the request (the “Review Period”). If any
                                  Notice Party wishes to object to a Professional’s Monthly Fee
                                  Application, the objecting party shall serve a written notice (a
                                  “Notice of Objection”) so that it is received by the end of the Review
                                  Period by the applicable Professional and each of the Notice Parties.
                                  A Notice of Objection shall set forth the precise nature of the
                                  objection and the amount of fees and expenses at issue.

                             d.   Upon the expiration of the Review Period, if a Notice of Objection
                                  has not been served with respect to a Monthly Fee Application, a
                                  Professional may file a certificate of no objection with the Court
                                  with respect to the unopposed portion of the fees and expenses
                                  requested in its Monthly Fee Application (each, a “CNO”). After a
                                  CNO is filed, the Debtor are authorized and directed to pay the
                                  Professional an amount equal to 80% of the fees and 100% of the
                                  expenses requested in the applicable Monthly Fee Application (the
                                  “Maximum Monthly Payment”) If a Notice of Objection was timely
                                  received and remains unresolved, the Debtor are authorized and
                                  directed to pay the Professional an amount (the “Reduced Monthly
                                  Payment”) equal to the lesser of (i) the Maximum Monthly Payment
                                  and (ii) 80% of the fees and 100% of the expenses not subject to a
                                  Notice of Objection.

                             e.   If a Notice of Objection is timely served in response to a Monthly
                                  Fee Application, the objecting party and the Professional shall
                                  attempt to resolve the objection on a consensual basis. If and to the
                                  extent that the parties reach an agreement, the Debtor shall promptly
                                  pay 80% of the agreed-upon fees and 100% of the agreed-upon
                                  expenses, to the extent not already included in a Reduced Monthly
                                  Payment (an “Incremental Resolution Payment”). If, however, the
                                  parties are unable to reach a complete resolution of the objection
                                  within ten days after service of the Notice of Objection, the
                                  objecting party shall file its objection (the “Objection”) with the
                                  Court within three business days and serve such Objection on the
                                  respective Professional and each of the Notice Parties. Thereafter,
                                  the Professional may either (i) file with the Court a response to the
                                  Objection, together with a request for payment of the difference, if
                                  any, between (A) the Maximum Monthly Payment and (B) the
                                  Reduced Monthly Payment and any Incremental Resolution
                                  Payment made to the affected Professional (the “Incremental
                                  Amount”) or (ii) forego payment of the Incremental Amount until
                                  the next interim or final fee application hearing, at which time the
                                  Court will consider the Objection, if requested by the parties.

                             f.   At three-month intervals or such other intervals convenient to the
                                  Court (the “Interim Fee Period”), each of the Professionals may file


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                                  with the Court and serve on the Notice Parties a request (an “Interim
                                  Fee Application Request”) for interim Court approval and allowance
                                  of the payment of compensation and reimbursement of expenses
                                  sought by such Professional in its Monthly Fee Applications,
                                  including any holdbacks, filed during the Interim Fee Period,
                                  pursuant to section 331 of the Bankruptcy Code. The Interim Fee
                                  Application Request must include a brief description identifying the
                                  following:

                                  (1)    the Monthly Fee Applications that are the subject of the
                                         request;

                                  (2)    the amount of fees and expenses requested;

                                  (3)    the amount of fees and expenses paid to date or subject to
                                         an Objection;

                                  (4)    the deadline for parties to file objections (the “Additional
                                         Objections”) to the Interim Fee Application Request; and

                                  (5)    any other information requested by the Court or required by
                                         the Local Rules.

                             g.   Objections, if any, to the Interim Fee Application Requests shall be
                                  filed and served upon the Professional that filed the Interim Fee
                                  Application and the other Notice Parties so as to be received on or
                                  before 4:00 p.m. prevailing Eastern Time on the 21st day (or the
                                  next business day if such day is not a business day) following service
                                  of the applicable Interim Fee Application Request.

                                  (1)    The Debtor will request that the Court schedule a hearing on
                                         the Interim Fee Application Requests at least once every six
                                         months. The Debtor, however, may request that a hearing
                                         be held every three months or at such other intervals as the
                                         Court deems appropriate. If no Objections are pending and
                                         no Additional Objections are timely filed, the Court may
                                         grant an Interim Fee Application Request without a hearing.

                                  (2)    The first Interim Fee Period will cover the month in which
                                         the Petition Date occurs and the two full months
                                         immediately following such month. Thus, as applicable to
                                         this chapter 11 case, the first Interim Fee Period will cover
                                         the Petition Date through March 31, 2021.                Each
                                         Professional must file and serve its first Interim Fee
                                         Application Request on or before the 45th day following the
                                         end of the first Interim Fee Period. Accordingly, the first
                                         Interim Fee Application Requests must be filed on or before
                                         May 14, 2021.


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                                    (3)     The pendency of an Objection to payment of compensation
                                            or reimbursement of expenses will not disqualify a
                                            Professional from the future payment of compensation or
                                            reimbursement of expenses under the Interim Compensation
                                            Procedures. There will be no other penalties for failing to
                                            file a Monthly Fee Application or an Interim Fee Application
                                            Request in a timely manner.

                                    (4)     Neither (i) the payment of or the failure to pay, in whole or
                                            in part, interim compensation and/or the reimbursement of
                                            or the failure to reimburse, in whole or in part, expenses
                                            under the Interim Compensation Procedures nor (ii) the
                                            filing of or failure to file an Objection will bind any party in
                                            interest or the Court with respect to the final allowance of
                                            applications for payment of compensation and
                                            reimbursement of expenses of Professionals. All fees and
                                            expenses paid to Professionals under the Interim
                                            Compensation Procedures are subject to disgorgement until
                                            final allowance by the Court.

                 3.          Each member of the Committee is permitted to submit statements of

expenses incurred from and after the date of appointment in the performance of the duties of the

committee (excluding third-party counsel expenses of individual committee members) with

supporting vouchers to Committee counsel, which counsel shall collect and submit the

committee member’s request for reimbursement in accordance with the Compensation

Procedures. Approval under the Compensation Procedures, however, will not authorize payment

of such expenses to the extent that such payment is not authorized under the Bankruptcy Code,

the Bankruptcy Rules, Local Rules, or the practice of this Court.

                 4.          Approval of the Compensation Procedures does not authorize payment of

such expenses to the extent that such payment is not authorized under the Bankruptcy Code, the

Bankruptcy Rules, Local Rules, or the practice of this Court.

                 5.          The Professionals shall be required to serve the Interim Fee Applications

and the Final Fee Applications only on the Notice Parties, and all other parties that have filed a

request for special notice with the Clerk of this Court pursuant to Bankruptcy Rule 2002 shall be


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entitled to receive only notice of hearings on the Interim Fee Applications and Final Fee

Applications.

                 6.          In each Interim Fee Application and Final Fee Application, all attorneys

(collectively, the “Attorneys”) who have been or are hereafter retained pursuant to sections 327,

363, or 1103 of the Bankruptcy Code (a) shall apply for compensation for professional services

rendered and reimbursement of expenses incurred in connection with the Debtor’s chapter 11

cases in compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions

of the Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the

Court, and (b) intends to make a reasonable effort to comply with the U.S. Trustee’s requests for

information and additional disclosures as set forth in the Guidelines for Reviewing Applications

for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11 cases Effective as of November 1, 2013 (the “U.S. Trustee Guidelines”).

                 7.          All notices given in accordance with the Compensation Procedures as set

forth herein shall be deemed sufficient and adequate notice and in full compliance with the

applicable provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

                 8.          The Debtor shall include all payments made to Professionals in

accordance with the Compensation Procedures in their monthly operating report(s), identifying

the amount paid to each of the Professionals.

                 9.          Notice of the Motion as provided therein shall be deemed good and

sufficient notice as such motion and the requirements of Bankruptcy Rule 6004(a) and the Local

Bankruptcy Rules are satisfied by such notice.

                 10.         The Debtor is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.




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                 11.         The Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation of this Order.




                                                                JOHN T. DORSEY
         Dated: February 5th, 2021                              UNITED STATES BANKRUPTCY JUDGE
         Wilmington, Delaware


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